                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:06cr55



UNITED STATES OF AMERICA                          )
                                                  )
                      vs.                         )
                                                  )                       ORDER
                                                  )
KHOA NGUYEN (7)                                   )
                                                  )



       THIS MATTER is before the Court on its own motion. The Court previously issued an

Order (Doc. No. 250) granting the government’s motion (Doc. No. 249) to unseal the Court’s

Order entered on June 8, 2006. A typographical mistake resulted in the listing of Doc. No. 129 to

be unsealed, rather than Doc. No. 122.

       IT IS, THEREFORE, ORDERED that the mistaken Order (Doc. No. 250) is

VACATED.

       IT IS FURTHER ORDERED that the Order (Doc. No. 122) at issue in the government’s

motion is UNSEALED.


                                                Signed: September 10, 2007




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